Case 19-25012-EPK Doc16_ Filed 12/04/19 Page 1of 3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

[mi] Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Green, Jesse JOINT DEBTOR: Green, Sharon Alvenia CASE NO.: 19-25012-EPK
SS#: xxx-xx- 0209 SS#: xxx-xx-2001
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [m] Included L] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section IIT L_] Included [m] Not included

 

 

 

 

Nonstandard provisions, set out in Section VIII [_] Included [m] Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $3,559.76 formonths 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: CI NONE CT] PRO BONO
Total Fees: $5589.00 Total Paid: $0.00 Balance Due: $5589.00
Payable $931.50 /month (Months 1 to 6 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4,500.00 + $525.00 (M2 Value Personal Property) + $525.00 (M2 Set Interest Rate) + $39.00 (Costs) = $5,589.00

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [|] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

1. Creditor: Mr. Cooper

 

 

 

Address: P.O. Box 619094 Arrearage/ Payoff on Petition Date $9,918.56
Dallas, TX, 75261 Regular Payment (Maintain) $2,006.94 /month (Months 1 to 60 )
Last 4 Digits of Arrears Payment (Cure) $10.00 /month(Months 1 to_6_)
Account No.: 6752 Arrears Payment (Cure) $182.57 /month (Months 7 to 60 )
Other: The Payments to Saint Lucie County Tax Collectors is part of the escrow payments.

 

 

 

LF-31 (rev. 10/3/17) Page 1 of 3

 
Case 19-25012-EPK DOL): Giled L210 [19 e4 of 3

 

 

reen, Jesse, Green, Shafoxt Kehia Case number: 19-25012-EPK
[m] Real Property Check one below for Real Property:
[_ [Principal Residence [m|Escrow is included in the regular payments
[_ Other Real Property [_|The debtor(s) will pay [_]|taxes [_Jinsurance directly
Address of Collateral:

2637 SW Monterrey Ln
Port Saint Lucie, FL, 34953

[_] Personal Property/Vehicle

Description of Collateral:

 

 

2. Creditor: Global Lending Services LLC

 

 

 

Address: Attn: Bankruptcy Arrearage/ Payoff on Petition Date $38,136.00 (includes 6.75% APR)
Greenville, SC, 29603 Payoff (Including 6.75% monthly interest $143.85 /month(Months 1 to_6_)
. Payoff (Including 6.75% monthly interest $690.24 /month (Months 7 to 60 )
Last 4 Digits of —_- —
Account No.: 8852
Other:
[_] Real Property Check one below for Real Property:
[_ [Principal Residence [_]Escrow is included in the regular payments
[Other Real Property [_|The debtor(s) will pay [_]|taxes [_Jinsurance directly
Address of Collateral:

[m] Personal Property/Vehicle

Description of Collateral: 2014 Porsche Cayenne Platinum Diesel 4D SUV
VIN No: WP1AF2A25ELA28682

 

 

 

 

B. VALUATION OF COLLATERAL: [| NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [mj] NONE
2. VEHICLES(S): [[] NONE

 

 

1. Creditor: BMW Financial Services Value of Collateral: $9,225.00 Payment
Address: Attn: Bankruptcy Department | Amount of Creditor's Lien: __ $16,737.00 __|Totalpaidinplan: $10,894.80
Po Box 3608

Dublin, OH, 43016
Last 4 Digits of Account No.: 5102
VIN: WBAXG5C52DDY34605

Description of Collateral:
2013 BMW 5-Series 528i 4D Sedan

 

Interest Rate: 6.75% $143.85 _/month (Months 1 to 6 )
$185.78 _/month (Months 7 to 60 )

 

 

Check one below:

Claim incurred 910 days or more pre-
petition

 

cain incurred less than 910 days pre-
petition

 

 

 

 

3. PERSONAL PROPERTY: [|] NONE

LF-31 (rev. 10/3/17) Page 2 of 3
Case 19-25012-EPK DOL): Giled L210 [19 e 3 of 3

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C. LIEN AVOIDANCE [mg] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[§] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[] NONE

[m™] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
St. Lucie County Tax N/A Homestead Property Located At:
1. Collector 2637 SW Monterrey Ln

Port Saint Lucie, FL, 34953
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lm] NONE
B. INTERNAL REVENUE SERVICE: [m] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [|B] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $170.61 ‘month (Months 7 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[§] NONE
VII. INCOME TAX RETURNS AND REFUNDS: [mj] NONE
VIII. NON-STANDARD PLAN PROVISIONS [mi] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Debtor December 4, 2019 /s/ Joint Debtor December 4, 2019
Green, Jesse Date Green, Sharon Alvenia Date
/s/ Brian J. Cohen, Esq. December 4, 2019

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-31 (rev. 10/3/17) Page 3 of 3
